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EXHIBIT A

 

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Hon. Robert Holmes Bell

UNITED STATES D|STR|CT COURT
110 l\/lichigan Street, N.W. Room 602
Grand Rapids, Mi 49503-2313

Your Honor,

My name is Veronica Lopez, i am the eldest daughter of Pablo Fierro. l would like to take the
time to say a few words about my father.

Let me start by saying that my father is EVERYTHlNG to me. He is the youngest of 5, and the
one my grandparents looked to for the most help. At a young age he learned that hard work was
a must and that he had to leave behind his dream of being a teacher in order to help sustain his
family. Even though my dad has less than a sixth grade education he has tried his hand at many
occupations.

Fast forward to when we were growing up, my father worked 2 full time factory jobs for 9
consecutive years to put us through catholic school and then when i graduated i went off to
Aquinas Co|lege where he also helped pay for whatever scholarships did not. Always instilli'ng in
us that education and hard work always pay off. lt took many sacrifices on all of our parts as we
were often separated from him because he was always at work.

l completely understand that he made a mistake, but i am asking asking for leniency and that
you please take into consideration his high work ethic. Although he does have a severe spinal
injury, that should not be taken lightly , all he knows how to do is work and take care of his loved
ones.

There is not one thing that can or could happen to us that my dad would not be there to take
care. He is the head of our family, our rock. He is a man of great patience, high morals and
great integrity. l am and forever will be honored to be able to call him my father, And now that
he needs us , i'm glad to see that we can all come together for him.

Thank you for your time and if you have any further questions please feel free to contact me.

Sincerely,
(MUW CO\_
Veronica Lopez

(231)329-3177
vlope2855@gmail.com

 

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Hon. Robert Holmes Bell

UNlTED STATES D|STR|CT COURT
110 lVlichigan Street, N.W. Room 602
Grand Rapids, lVli 49503-2313

Your Honor

| am writing this letter to you regarding the pending sentencing of my father Pab|o Fierro.

My name is Maria (Connie) Briceno and l am Pablo's middle daughter. There is so much l want
to say about my father, the man who will humbly stand before you, but l don't know where to
begin.

At a very young age l remember not seeing my father around very often. lt wasn't because he
didn't want to be but because he worked two full time factory jobs. For almost ten years he
worked 16 hours a day everyday including Saturdays. You see, my father did this for us. He
didn't want his family to struggle like he did while growing up. He wanted us to go to a private
catholic school so that we could get a good education, something he values because his father
pulled him out of school at a young age so he could work the fields to help support his siblings.
As a result my father has always worked very hard starting at a young age. He has a high work
ethic, that's all he's ever done.

On a typical day our father would be gone by the time we woke up for school. l\/ly mother would
see us off to school before she would leave and go to work as well. Our father would always be
there to pick us up from school and he would bring us home and quickly eat with us before he
rushed off to his next job. Family has always been important to my parents and our mother
would make lt a point we see our dad as much as we could. She would always cook something
so that we could go take him lunch on his lunch break. He'd sit in the car to eat and ask us (his
3 daughters) about our day. Time was limited as he only had a 20 minute break. By the time he
came horne from work we'd be in bed already asleep & that would be our normal routine.
Sunday's will always be one of my fondest memories. He would always wake us up with music
and make breakfast. We'd go to church every Sunday & then we would walk and get some
ice-cream. Sunday for us was always "family day".

Our father injured himself at work and has a spinal injury. l remember the doctors wanted to
operate on him but didn't give him the best chance of a full recovery. le father didn't want to
end up in a wheelchair and declined surgery. He decided instead to try and manage his pain.
He was off work a very long time. He was in and out of doctors offices and would go to the pain
clinic for shots. During this time our family struggled. Our mother continued to work very hard.
She would often come home from work and make Mexican food to sell for a little extra money
but it wasn't enough. l truly believe this is why my father started to work again. He learned how
to manage his pain and pushed through every day. Working is all my father has known to do all
his |ife.

 

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One of his dreams was always to open up a Mexican restaurant of his own. As a family we all
encouraged him to give it a try and go for it. He soon became successful and well known
throughout the community. l understand he went about it the wrong way & l assure you we as a
family know the seriousness of the crime he committed l can also assure you he knows and
understands what he did was wrong and accepts full responsibility Our father has always given
back to the community in many ways. He‘s helped countless people and is very loved by all his
customers. He's donated bibles to a bible class that couldn't afford any. He's given money to
various organizations He's helped the church we attended with their annual "fiesta" every
summer. l could go on and on. He's the type of person that will not hesitate to help someone in
need. Now my mother needs him. She is ill and her health is not the best. All this stress on her
has only made her health decline.

l\/ly father has lost everything he has spent a lifetime working for. He has nothing left except us,
his family. Although l am fully aware of what my father did and l know he was wrong l will never
be embarrassed to call him my dad. l am very proud to be his daughter, that will never change. l
ask that you please consider leniency when sentencing him. Please allow our family to`start the
healing process and give my father the chance to rebuild his life and reputation. Please take into
consideration all the good things he has done. l ask you give him a second chance to make
things right and repay what he owes.Thank you for your time reading my letter.

Sincerely M
Maria Briceno
(231)343-2150

1553 Haverhlll Rd
ll/luskegon, lVli 49441

 

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Hon. Robert Holmes Bell

UNlTED STATES D|STR|CT COURT
110 Michigan Street, N.W., Room 603
Grand Rapids, Michigan 49503-2313

Dear Honorable Judge Holmes Bell,

l hope you accept this letter regarding leniency in the sentence of Pablo R. Fierro. My name is
E|izabeth Melgarejo, l arn Pablo's youngest daughter. l understand the severity of the situationl
and l know that my father truly regrets his decisions that have led him in the current situation.

My father that l know has always been a hard working man. When l was growing up l would
always ask my mother “when l was going to see my daddy", because back then l didn't
understand what work was. lt wasn't until l was a little older that l understood that my father
worked two full time factory jobs for 9 years just so he could give his family a better life, so he
could send my two older sisters and myself to a catholic school from elementary until high
school. My father only wanted the best for our family and to him working hard to provide for us
was his way to give us the best.

When my father was injured at work that caused his back injury l believe l was 12 years old.

Not old enough to totally comprehend what had happened but l was old enough to understand
that my father had a severe injury. l remember seeing my father crying in pain, l remember
waking up in the middle of the night to my father walking around the house because he couldn't
stand the pain and l also remember holding my dad's hand when his legs would go numb due to
his injury. Those are things that l will never forget. But my father is and has always been a
fighter, he is not the type of person that would just lay there doing nothing because of his pain.

The father that l know and love so dearly made a mistake, l know that he is willing to pay back.
This situation has really hurt our family. My father is the one that would keep our family intact.
Making sure that we were all together celebrating holidays. My father means that world to me.
He is also the type of person that would take his shirt off and give it to someone in need. He
was really involved in the community, he would always go to church every Sunday because his
catholic faith has always been strong and important to him. He always made sure to teach us
the value of work and faith. My father is my hero and role model and our family needs him.
Thank you for your time.

Sincerely,

E|izabeth Melgarejo
1461 Division St.
Muskegon, lV|l 49441
(231) 329-5507

 

